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  12
                           UNITED STATES DISTRICT COURT
  13
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
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  16   JOSE ANTONIO FRANCO                 )    Case No. 10-CV-02211 DMG (DTBx)
       GONZALEZ, et al.,                   )
  17                                       )    PLAINTIFFS’ EX PARTE
                Plaintiffs-Petitioners,    )    APPLICATION FOR LEAVE TO
  18                                       )    FILE A SUR-REPLY IN SUPPORT
                      v.                   )    OF MOTION TO REOPEN
  19                                       )    LIMITED DISCOVERY TO
       WILLIAM BARR, Attorney              )    ESTABLISH NON-COMPLIANCE
  20   General, et al.,                    )    WITH COURT ORDERS
                                           )
  21         Defendants-Respondents.       )    Honorable Dolly M. Gee
                                           )
  22                                       )
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   1         On January 6, 2020, Defendants disregarded the limitations set forth in this
   2 Court’s order allowing a response to “new” arguments by filing a 14-page “sur-
   3 reply” in response to Plaintiffs’ motion to reopen limited discovery to establish
   4 Defendants’ non-compliance with court orders. Dkt. 1069, 1070. Remarkably,
   5 Defendants’ “sur-reply” not only exceeds the length of the reply to which it
   6 supposedly responds, but it goes well beyond the response to “new materials raised
   7 for the first time in Plaintiffs’ reply” that this Court had allowed. Dkt. 1069. The
   8 Government’s “sur-reply” goes far beyond the merits of Plaintiffs’ motion—in
   9 which Plaintiffs need only establish “significant questions” regarding Defendants’
  10 compliance with this Court’s orders—to make an inappropriate (and unconvincing)
  11 attempt to resolve the ultimate question of compliance without providing the full
  12 and complete discovery necessary to do so. California Dep't of Soc. Servs. v.
  13 Leavitt, 523 F.3d 1025 (9th Cir. 2008) (holding that post-judgment compliance
  14 discovery should be granted “[i]f significant questions regarding noncompliance
  15 have been raised”).
  16         In their 14-page “sur-reply,” Defendants raise new arguments, which
  17 Plaintiffs have never had the opportunity to address. Because of the breadth of the
  18 Government’s “sur-reply”, and its lack of adherence to the limitation provided by
  19 this Court, Plaintiffs hereby seek leave to file a sur-reply to respond to those new
  20 arguments.
  21         This Court has discretion to permit Plaintiffs to address the Government’s
  22 new arguments, and should exercise that discretion where new arguments are
  23 raised for the first time in a reply brief. See Hill v. England, No.
  24 CVF05869RECTAG, 2005 WL 3031136, *1 (E.D. Cal. Nov. 8, 2005). Fairness
  25 further supports an exercise of discretion to permit a sur-reply here because
  26 Defendants’ sur-reply consists almost entirely of argument regarding the
  27 significance (or lack thereof) of over 6,000 pages of documents submitted by
  28 Defendants on December 4, 2019. Plaintiffs had only one week to review this

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   1 evidence in advance of their reply. Yet Defendants (who of course have greater
   2 familiarity with these documents) took more than three times as long to prepare
   3 their wide-ranging sur-reply that goes far beyond the limited issue raised by
   4 Plaintiffs’ motion. See Provenz v. Miller, 102 F.3d 1478, 1483 (9th Cir. 1996)
   5 (holding that surreply should be permitted where denying opportunity to respond
   6 would be unfair).
   7         In their sur-reply, Plaintiffs would limit themselves to the new arguments
   8 raised by the Defendants to show how Defendants’ sur-reply: (1) mischaracterizes
   9 and omits key details from relevant medical records; (2) seeks to impose an
  10 inappropriate standard for Plaintiffs’ motion, suggesting that Plaintiffs need to
  11 provide proof of non-compliance rather than simply raise significant questions
  12 regarding compliance; and (3) misinterprets the class criteria, resulting in an
  13 unreasonable and overly restrictive standard for Class membership. Plaintiffs
  14 request leave to file a sur-reply within seven days of the Court’s ruling on this
  15 application.
  16         Plaintiffs make this application ex parte because there is insufficient time to
  17 proceed on a regular motion schedule given that this Court may rule on Plaintiffs’
  18 motion at any time. The parties met and conferred regarding this application by
  19 email on January 8, 2020. Defendants indicated that they oppose this request, and
  20 do not intend to file an opposition.
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                                       Respectfully submitted,
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  23 Dated: January 8, 2020            /s/ Jessica Karp Bansal
  24                                   JESSICA KARP BANSAL
                                       Counsel for Plaintiffs-Petitioners
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